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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                 v.                                   :
                                                      :       CRIMINAL NO. 21-cr-670 (CJN)
STEPHEN K. BANNON,                                    :
                                                      :
                 Defendant.                           :

                            UNITED STATES’ OPPOSITION TO
                         DEFENDANT’S MOTION TO CONSOLIDATE

        In this criminal case, a jury found the Defendant guilty of contempt of Congress, and on

October 21, 2022, the Court sentenced him to four months of incarceration. See ECF No. 161.

During the criminal case, certain Members of Congress and their staff moved to quash subpoenas

issued by the Defendant. The subpoena litigation was handled in a separate, miscellaneous matter,

In re: Non-Party Subpoenas, 1:22-mc-00060-CJN, and the Court granted the plaintiffs’ motion to

quash the subpoenas following oral argument on July 11, 2022. See Docket No. 22-mc-00060-

CJN, July 12, 2022, Minute Order. 1 Yesterday, the Defendant filed a motion to consolidate the

miscellaneous case with this criminal case. Such consolidation is both unnecessary and

inappropriate.

        Defendant seeks consolidation so that the limited pleadings filed in the miscellaneous case

may be included in the record on appeal for the criminal case. If the miscellaneous pleadings are

relevant to issues the Defendant seeks to raise in his criminal appeal, however, Rule 10(e)(2) of

the Federal Rules of Appellate Procedure sets out the procedure he should follow. There is no need

for consolidation of the two cases in this Court.




1 Although the Minute Order in Docket No. 22-mc-00060-CJN indicates that the Court held oral argument on the
Motion to Quash on July 12, 2022, that appears to be a clerical error.
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       Moreover, consolidation of the two cases is not appropriate. The miscellaneous case is a

separate proceeding that involves different parties than the criminal case. Joining this criminal case

with a civil action in which the United States was not even a party would be improper.

Furthermore, the time to note an appeal from the Court’s July 11, 2022, ruling granting the motion

to quash has long passed. See Fed. R. App. P. 4(a)(1) (appeal in civil case must be filed with 30

days of order appealed from). To the extent the Defendant seeks appellate review of the quashing

order, he has missed the deadline, and he should not be allowed to use consolidation as a back door

to the court of appeals.

       Accordingly, the Court should deny the Defendant’s motion.



                                               Respectfully submitted,


                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                                       By:     /s/ Christopher R. Howland
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                               CERTIFICATE OF SERVICE

       I certify that on November 4, 2022, I provided a copy of the United States’ Opposition to
the Defendant’s Motion to Consolidate by CM/ECF.


                                            /s/ Christopher R. Howland
                                            Assistant United States Attorney




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